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1    TRANSCRIBED FROM DIGITAL RECORDING
2                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
3                              EASTERN DIVISION
4    STANLEY BOIM, individually, estate of)
     David Boim, and JOYCE BOIM,          )
5                                         )
                  Plaintiffs,             )
6                                         )
                 vs.                      )            No. 17 C 3591
7                                         )
     AMERICAN MUSLIMS FOR PALESTINE, et )
8    al.,                                 )            Chicago, Illinois
                                          )            February 6, 2019
9                 Defendants.             )            9:05 A.M.
10                 TRANSCRIPT OF PROCEEDINGS - Status
       BEFORE THE HONORABLE SIDNEY I. SCHENKIER, Magistrate Judge
11
     APPEARANCES:
12
     For the Plaintiffs:             LOCKE LORD LLP
13                                   111 South Wacker Drive, Suite 4400
                                     Chicago, Illinois 60606
14                                   BY: MR. WILLIAM ALLEN WOOLLEY
15                                   JASZCZUK P.C.
                                     311 South Wacker Drive, Suite 1775
16                                   Chicago, Illinois 60606
                                     BY: MR. DANIEL I. SCHLESSINGER
17
     For the Defendants:             CONSTITUTIONAL LAW CENTER FOR
18                                     MUSLIMS IN AMERICA
                                     833 East Arapaho Road, Suite 102
19                                   Richardson, Texas 75081
                                     BY: MS. CHRISTINA ANNE JUMP
20

21                        PAMELA S. WARREN, CSR, RPR
                            Official Court Reporter
22                   219 South Dearborn Street, Room 2342
                           Chicago, Illinois 60604
23                              (312) 408-5100
24   NOTE: Please notify of correct speaker identification.
     FAILURE TO SPEAK DIRECTLY INTO THE MICROPHONE MAKES PORTIONS
25   UNINTELLIGIBLE.
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1          (Proceedings held in open court:)
2               THE CLERK: 17 C 3591, Boim, et al. versus American
3    Muslims for Palestine, et al., status.
4               MS. JUMP: Good morning, your Honor. Christina Jump
5    for the defendants.
6               THE COURT: Good morning.
7               MR. WOOLLEY: Allen Woolley and Dan Schlessinger here
8    for the plaintiffs.
9               MR. SCHLESSINGER: Good morning, your Honor.
10              THE COURT: Okay. Are we done?
11              MS. JUMP: We're done.
12              MR. WOOLLEY: We have completed the -- the
13   jurisdiction discovery. We're scheduled to be appearing in
14   front of Judge Coleman as soon as we're done this morning, your
15   Honor. And I think our next step will be to ask Judge Coleman
16   for a date to file a motion for leave to file an amended
17   complaint.
18              THE COURT: All right. Well, she sent it to me for
19   discovery supervision and settlement, and I guess right now we
20   have finished at least discovery supervision for now. So I
21   won't terminate the referral, but I'll not set any further
22   statuses until we see how things evolve before Judge
23   Coleman. Okay?
24              MS. JUMP: Very well.
25              MR. WOOLLEY: Makes sense.
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1               THE COURT: Thanks a lot.
2               MR. WOOLLEY: Thank you, your Honor.
3               MS. JUMP: Thank you, your Honor.
4          (Which concluded the proceedings.)
5                                    CERTIFICATE
6               I certify that the foregoing is a correct transcript
7    from the digital recording of proceedings in the above-entitled
8    matter to the best of my ability, given the limitation of using
9    a digital-recording system.
10

11

12   / s/ Pamel a S.   War r en                       February 12, 2019
     Official Court Reporter                               Date
13   United States District Court
     Northern District of Illinois
14   Eastern Division
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